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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, # 288639
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     DANIEL ANDREW WALKER
6
7                               IN THE UNITED STATES DISTRICT COURT
8                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                     )    Case No. 2:19-cr-00234-DJC
10                                                 )
                              Plaintiff,           )    STIPULATION AND ORDER TO CONTINUE
11                                                 )    STATUS CONFERENCE
            v.                                     )
12                                                 )
     DANIEL ANDREW WALKER,                         )    Date: June 6, 2024
13                                                 )    Time: 9:00 a.m.
                              Defendants.          )    Judge: Hon. Daniel J. Calabretta
14                                                 )
15
             IT IS HEREBY STIPULATED by and between Phillip Talbert, United States Attorney,
16
     through James R. Conolly, Assistant United States Attorney, attorney for Plaintiff, Heather
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     Williams, Federal Defender, through Assistant Federal Defender Douglas J. Beevers, attorneys
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     for Daniel Andrew Walker, that the sentencing hearing scheduled for June 6, 2024, at 9:00 a.m.,
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     be vacated and the matter continued to August 22, 2024, at 9:00 a.m.
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             The reasons for the continuance is that defense needs time to prepare sentencing by
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     interviewing witnesses and visiting the scene of the alleged relevant conduct in Siskiyou County,
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     as well as continuing to review the discovery in the case. In addition, Defense counsel needs to
23
     review the decision in United States v. Duarte, --- F.4th ----2024 WL 2068016 (May 9, 2024)
24   which struck down 18 U.S.C. §922(g) and changed the law from the time when the parties
25   litigated the motion to dismiss in this case. This Court is currently set to hear a Second
26   Amendment motion to dismiss for a defendant with similar prior convictions in United States v.
27   Monte Shepard on August 15, 2024.
28

      Stipulation and Order                            -1-
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1            Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3
     DATED: May 30, 2024
4                                                  Respectfully submitted,
5
                                                   HEATHER E. WILLIAMS
6                                                  Federal Defender

7                                                  /s/ Douglas J. Beevers
                                                   DOUGLAS J. BEEVERS
8
                                                   Assistant Federal Defender
9                                                  Attorney for DANIEL ANDREW WALKER

10   DATED: May 30, 2024                           PHILLIP TALBERT
                                                   United States Attorney
11
                                                   /s/ James R. Conolly
12                                                 JAMES R. CONOLLY
                                                   Assistant United States Attorney
13                                                 Attorney for Plaintiff
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      Stipulation and Order                          -2-
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1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as its
4    order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice served by granting the requested continuance
7    and outweigh the best interests of the public and defendants in a speedy trial.
8            It is further ordered the June 6, 2024 shall be continued until August 22, 2024, at 9:00 a.m.
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11
     Dated: May 31, 2024                            /s/ Daniel J. Calabretta
12                                                  THE HONORABLE DANIEL J. CALABRETTA
                                                    UNITED STATES DISTRICT JUDGE
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      Stipulation and Order                            -3-
